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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
OFFICE OF THE CLERK

Catherine M. Stavlas, Clerk of Court
Reply to Northern Division Address David E. Ciambruschini, Chief Deputy

April 1, 2025

Elizabeth R. Smith
5106 Bradley Blvd.
Chevy Chase, MD 20815
Re: Case No. 1:25-cv-00748-JKB
Dear Counsel/Party:

The Clerk received your Notice of Non-Reinstatement on March 31, 2025; however, it is
deficient in the area(s) checked below and is being returned to you.

Noncompliance with L.R. 101 or 102 Noncompliance with L.R. 102 and FRCivP 5
() Member of bar has not signed the document. (1 Certificate of service not affixed to document.
C] Business entities other than sole () Certificate of service not dated and/or not
proprietorships must be represented by signed.
counsel.
Noncompliance with L.R. 104 or 105 Miscellaneous

() Discovery materials should not be filed unless [) Document does not contain original signature.
in support of a motion or by court order.

(Discovery motion filed contrary to L.R. 104.7. [] Document relates to more than one file.
Original and appropriate copies are required

[] Motion to compel filed contrary to L.R. 104.8. for each file unless the cases have been
consolidated for all purposes.

[] Offer of judgment should not be filed with the

Court until it has been accepted. Fed. R. Civ.

P. 68.
Other: Elizabeth Smith is not a party to the
case.
ZL) dle 4 [ 25
James K. Bredar Date

United States District Judge

cc: Other counsel/party
Return pleading letter (Rev. 02/2011)

Northern Division * 4228 U.S. Courthouse * 101 W. Lombard Street * Baltimore, Maryland 21201+ 410-962-2600
Southern Division * 200 U.S. Courthouse * 6500 Cherrywood Lane « Greenbelt, Maryland 20770 * 301-344-0660

Visit the U.S. District Court's Website at www.mdd.uscourts.gov

